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           EXHIBIT D
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Subject: Re: an urgent request ON IT
From: Person D1
Date: 9/19/12, 9:29 AM
To: Rick Gates <rgates@
CC: Paul Manafort <pmanafort@                          Person D2

And Hapsburg Member ALSO happy to speak to Senator                   and ask hm to delay or
tone down or stop the resolution

Sent from my iPad

On Sep 19, 2012, at 15:25, Rick Gates <rgates@                      wrote:


  On it. Thank you. 

  From: Person D1
  To: Paul Manafort <pmanafort@
  Cc: Rick Gates <rgates@                     Person D2
  Subject: Re: an urgent request ON IT

  Am with          now, who is speaking to Hapsburg Member who is getting ready for the
             Hapsburg Membe



  wedding of his only daughter...BUT....he will talk to Senator yes. He is delighted to speak to
  Senator and try to calm things down and ask them to wait and tust him..Need rick to call
  me in three minutes so we can set this up, make it happen....

  Hapsburg Member             says yes here is his personal and private mobile and Senator shd
  call him

  +

  The Senator can dial him directly or             can put him on

  He will keep he phone open until midnight CET or six pm DC time

  He is very keen to delay and calm things down


  READY....

  Sent from my iPad

  On Sep 19, 2012, at 15:12, Paul Manafort <pmanafort@                       wrote:


      Keep me posted on       call to Senator status

      From: Rick Gates <rgates@
      Date: Wed, 19 Sep 2012 08:07:57 -0500
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  not prior to them.

  Paul works through his channels and is sending the same messages. He also supports the above
  initiative. The issue is under Big Guy's personal control.

  As you understand, the matter is very urgent and we understand the time pressure but it would be
  fantastic if such a call could take place.

  Best regards,

  Dmytro




<senate.doc>

<res part 1.pdf>

<res part 2.pdf>
